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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                           Order Filed on October 16, 2020
   RIKER, DANZIG, SCHERER, HYLAND &                                        by Clerk,
   PERRETTI LLP                                                            U.S. Bankruptcy Court
   Joseph L. Schwartz (JS-5525)                                            District of New Jersey

   Tara J. Schellhorn (TS-8155)
   Headquarters Plaza, One Speedwell Avenue
   Morristown, NJ 07962-1981
   Telephone: (973) 583-0800
   -and-
   PACHULSKI STANG ZIEHL & JONES LLP
   Bradford J. Sandler (NJ Bar No. BS-1367)
   Shirley S. Cho (admitted pro hac vice)
   780 Third Avenue, 34th Floor
   New York, NY 10017

   Counsel to the Liquidating Trust

   In re:                                                       Chapter 11

   FRANK THEATRES BAYONNE/SOUTH                                 Case No. 18-34808 (SLM)
   COVE, LLC, et al.,1
                                                                (Jointly Administered)
                                     Debtors.


                STIPULATION AND CONSENT ORDER RESOLVING CLAIMS
                             FILED BY D-BOX USA INC.

                  The relief set forth on the following pages, numbered two (2) through seven (7), is

 hereby ORDERED

DATED: October 16, 2020
                        .



 1 The Post-Confirmation Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer
 identification number are as follows: Frank Theatres Bayonne/South Cove, LLC (3162); Frank All Star Theatres,
 LLC (0420); Frank Theatres Kingsport LLC (5083); Frank Theatres Montgomeryville, LLC (0692); Frank Theatres
 Rio, LLC (1591); Frank Theatres Towne, LLC (1528); Frank Theatres Mt. Airy, LLC (7429); Frank Theatres
 Sanford, LLC (7475); Frank Theatres Shallotte, LLC (7548); Revolutions at City Place LLC (6048); Revolutions of
 Saucon Valley LLC (1135); Frank Entertainment Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033);
 Frank Hospitality Saucon Valley LLC (8570); and Galleria Cinema, LLC (2529).


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 Case No.:   18- 34808 (SLM)
 Caption:    Stipulation and Consent Order Regarding D-BOX USA Inc. Claims


        This matter comes before the Court upon request of the Advisory Trust Group LLC, in its

 capacity as Trustee (the “Liquidating Trustee”) of the Frank Theatres Liquidating Trust (the

 “Liquidating Trust”) with respect to the Claims filed by D-BOX USA Inc. (“D-BOX,” and

 together with the Liquidating Trust, the “Parties”); and the Court having jurisdiction to consider

 this matter pursuant to 28 U.S.C. §§ 157 and 1334; and venue being proper before the Court

 pursuant to 28 U.S.C. §§ 1408 and 1409; and consideration of this matter being a core

 proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that proper and adequate notice of

 the dispute has been given and that no other or further notice is necessary; and upon the record

 herein and the agreement of the Liquidating Trustee and D-BOX; and the Court having

 determined that the relief provided for herein is in the best interests of the Liquidating Trust and

 its creditors; and after due deliberation and good and sufficient cause appearing therefor;

                                            RECITALS

        WHEREAS on December 19, 2018 (the “Petition Date”), each of the above-captioned

 debtors and debtors-in-possession (collectively the “Debtors”), filed voluntary petitions for relief

 under chapter 11 of the United States Code, 11 U.S.C. § § 101-1532 (the “Bankruptcy Code”), in

 the United States Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”).

 The chapter 11 cases are pending before the Honorable Stacey L. Meisel, United States

 Bankruptcy Judge, and are being jointly administered under the lead case, In re Frank Theatres

 Bayonne/South Cove, LLC, et al., Case No. 18-34808 (SLM) (the “Chapter 11 Cases”).

        WHEREAS, the Debtors continued in possession of their properties as debtors-in-

 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.



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        WHEREAS, on February 4, 2019, D-BOX filed Claim No. 42 against Frank Theatres

 Bayonne/South Cove, LLC, asserting a secured claim in the amount of $147,500.00 and an

 unsecured claim in the amount of $30,000.00.

        WHEREAS, on February 4, 2019, D-BOX filed Claim No. 45 against Frank Theatres

 Rio, LLC, asserting a secured claim in the amount of $123,700.00 and an unsecured claim in the

 amount of $30,000.00.

        WHEREAS, on February 4, 2019, D-BOX filed Claim No. 46 against Frank Theatres

 Southern Pines, LLC, asserting a secured claim in the amount of $139,800.00 and an unsecured

 claim in the amount of $30,000.00.

        WHEREAS, on February 4, 2019, D-BOX filed Claim No. 47 against Frank Theatres

 York, LLC, asserting a secured claim in the amount of $139,600.00 and an unsecured claim in

 the amount of $30,000.00.

        WHEREAS, on February 4, 2019, D-BOX filed Claim No. 59 against Frank Theatres,

 LLC, asserting a secured claim in the amount of $550,600.00 and an unsecured claim in the

 amount of $43,767.14.

        WHEREAS, on July 29, 2019, the Court entered its Findings of Fact, Conclusions of

 Law, and Order Confirming the Debtors’ First Amended Chapter 11 Plan of Reorganization

 Under Chapter 11 of the Bankruptcy Code [Docket No. 687] (the “Confirmation Order”)

 confirming the Debtors’ First Amended Chapter 11 Plan of Reorganization Under Chapter 11 of

 the Bankruptcy Code.




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        WHEREAS, on October 29, 2019, the Court entered a consent order [Docket No. 783]

 confirming the Debtors’ Modified First Amended Plan of Reorganization Under Chapter 11 of

 the Bankruptcy Code [Docket No. 783] (the “Modified Plan”).

        WHEREAS, on October 31, 2019, the Effective Date of the Modified Plan occurred.

 See Notice of (I) Entry of Confirmation Order, (II) Occurrence of Effective Date, and (III)

 Related Bar Dates [Docket No. 792].

        WHEREAS, the Liquidating Trust was created pursuant and to effectuate the Modified

 Plan, see Frank Theaters Liquidating Trust Agreement (the “Liquidating Trust Agreement”) at 1,

 and for the purpose of distributing the Liquidating Trust Assets to the Liquidation Trust

 beneficiaries . . .” Modified Plan at Section V.B.

        WHEREAS, on January 29, 2020, the Administrative and Priority Claims Agent filed its

 First Omnibus Objection to Certain (I) Satisfied Claims, (II) Claims to be Reclassified, and (III)

 Claims to be Reduced to $0 and Then Expunged (the “First Omnibus Objection”) [Docket No.

 868] in which it sought to reclassify certain claims, including Claim Nos. 42, 45, 46, 47, and 59.

        WHEREAS, on March 3, 2020, the Court entered the Revised Order Sustaining the

 Administrative and Priority Claims Agent’s First Omnibus Objection to (I) Certain Satisfied

 Claims, (II) Claims to be Reclassified, and (III) Claims to be Reduced to $0 and then Expunged

 [Docket No. 906], in which Claim Nos. 42, 45, 46, 47, and 59 were each reclassified as an

 unsecured claim.

        WHEREAS, the Parties wish to resolve their disputes in connection with Claim Nos. 42,

 45, 46, 47, and 59.



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       NOW, THEREFORE, for good cause shown, IT IS HEREBY ORDERED as follows:

        1.      Claim No. 59 filed by D-BOX is hereby reduced and deemed allowed against the

 estate of Frank Theatres, LLC in the amount of $569,367.14 as a general unsecured claim (the

 “Allowed Claim”).

        2.      Claim Nos. 42, 45, 46, and 47 filed by D-BOX are hereby withdrawn with

 prejudice. D-BOX agrees that it will not file or assert any additional claims against any of the

 Debtors in these Chapter 11 Cases other than the Allowed Claim.

        3.      Each of the Parties hereto consents to the jurisdiction of the Court to adjudicate

 any and all disputes arising under or relating to this Stipulated Order.

        4.      This Stipulated Order shall be binding upon the Parties hereto and any of their

 successors, representatives, and/or assigns.

        5.      Each of the Parties hereto represents and warrants that it is duly authorized to

 enter into and be bound by this Stipulation.

        6.      This Stipulation may be executed in multiple counter parts, any of which may be

 transmitted by facsimile or electronic mail, and each of which will be deemed an original, but all

 of which together will constitute one instruments.

        7.      Notwithstanding any applicability of any of the Federal Rules of Bankruptcy

 Procedure, the terms and conditions of this Stipulation shall be immediately effective and

 enforceable upon its entry.

                                 [remainder of page intentionally left blank]




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         8.     The Bankruptcy Court retains exclusive jurisdiction to resolve any dispute arising

 from or related to the interpretation or enforcement of this Stipulation.

 Dated: October 2, 2020

 STIPULATED AND AGREED:

 RIKER, DANZIG, SCHERER,
 HYLAND & PERRETTI LLP

 /s/ Joseph L. Schwartz
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